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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*********************
KATHI AHO,                           *       No. 14-1106V
                  Petitioner,        *
                                     *
v.                                   *
                                     *       Filed: January 4, 2017
SECRETARY OF HEALTH                  *
AND HUMAN SERVICES,                  *       Stipulation; influenza (“flu”) vaccine;
                                     *       small fiber neuropathy (“SFN”).
                  Respondent.        *
                                     *
*********************
Andrew D. Downing, Van Cott & Talamante, Phoenix, AZ, for Petitioner;
Debra A. Filteau Begley, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On January 4, 2017, the parties filed a joint stipulation concerning the
petition for compensation filed by Kathi Aho on November 13, 2014. In her
petition, petitioner alleged that the influenza vaccine, which is contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which she received
on September 30, 2013, caused her severe pain, numbness, and tingling in her arms
and legs, particularly on the left side of her body. Petitioner further alleges that she
suffered the residual effects of this injury for more than six months. Petitioner
represents that there has been no prior award or settlement of a civil action for
damages on her behalf as a result of her condition.

      Respondent denies that the influenza vaccine caused petitioner to suffer
small fiber neuropathy or any other injury.


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         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum payment of $50,000.00 in the form of a check payable to
        petitioner, Kathi Aho. This amount represents compensation for all
        damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 14-1106V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

*************************************
KATIDAHO,                                      *
                                               *
                       Petitioner,             *              No. 14-1106V

v.
                                               *              SPECIAL MASTER
                                               *              CHRISTIAN MORAN
                                               *
SECRETARY OF HEALTH AND                        *
HUMAN SERVICES,                                *
                                               *
                       Respondent.  *
*************************************
                                          STIPULATION

        The .Parties hereby stipulate to the following matters:

        1.      Petitioner filed a petition for vaccine compensation under the National Vaccine

Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine Program")- The

petition seeks compensation for injuries allegedly related to petitioner's receipt of the Influenza

("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the ''Table"), 42 C.F.R.

§ 100.3 (a) .

        2.      Petitioner received a flu immunization on September 30, 2013.

        3.      The vaccine was administered within the United States.

        4.      Petitioner alleges that she developed pain, numbness, tingling, a nerve injury, and

a small fiber neuropathy ("SFN") that was caused-in-fact by her flu vaccine and that she bas

experienced residual effects of this injury for more than six months.

        5.      Petitioner represents that there has been no prior award or settlement of a civil

action for damages on her behalf as a result of her condition.
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        6.      Respondent denies that petitioner's alleged pain, numbness, tingling, a nerve

injury, and/or SFN, or any other injury, was c~used-in-fact by her flu vaccination.

        7.     Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.      As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

        A lump sum of $50,000.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-1S(a).

        9.      As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        10.     Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- 1S(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C .

 § 1396 et seq.)), or by entities that provide health services on a pre-paid basis.




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        11.     Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for any

award for attorneys' fees, and litigation costs, the money provided pursuant to this Stipulation

will be used solely for the benefit of petitioner as contemplated by a strict construction of 42

U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, a flu vaccination administered on September 30, 2013, as

alleged by petitioner in a petition for vaccine compensation filed on or about November 13,

2014, in the United St.ates Court of Federal Claims as petition No. 14-1106V.

         14.    If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

         15.     If the special master fails to issue a decision in complete conformity with the

tenns ofthis Stipulation or if the Court of Federal Claims fails to enter judgment in conformity



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with a decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16.    This Stipulation expresses a full and complete negotiated settlement ofliability

and damages claimed under the National Childhood Vaccine Injwy Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

the parties hereto to make any payment or to do any act or thing other than is herein expressly

stated and clearly agreed to. The parties further agree and understand that the award described in

this Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17.     This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that petitioner's alleged pain, numbness, tingling, nerve

injury, and/or SFN, or any other condition, was caused-in-fact by her flu vaccination.

        18.     All rights and obligations of petitioner hereunder shall apply equally to

petitioner' s heirs, executors, administrators, successors, and/or assigns.

                            END OF STIPULATION

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Respect fully submitted ,

PETITIONER:




ATTORNEY OF RECORD FOR                         AUTHORIZED REPRESENTATNE
                                               OF THE AITORNEY GENERAL:

PE~~~-..J.~
ANDREW D. DOWNING                                         NEE. REEVES
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3030 N. Third Street, Suite 90                 Torts Branch
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                                               P.O. Box 146
                                               Benjamin Franklin Station
                                               Washington, DC 20044-0146

AUTHORIZED REPRESENTATIVE                      ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                     RESPONDENT:
AND HUMAN SER     S:



N
Director
Division o flnjury Compensation Programs
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Rockville, MD 20857                            Washington, DC 20044-0146
                                               (202) 616-4181


Dated:   \ / ) /   ZG l'.:f-
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